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UNITED STATES DISTRICT CoURT m
Fi;_Ef" fj,>'"-“_ JZL/ 7 11:
for §§ ._li?i-i 30 Pi“§ 3; '§F;
WESTERN DISTRICT OF TENNESSEE _`_`
1 am
Request for Modifying the Conditions or Term of Supervision
with Consent of the Offender
(Probatfon Form 49, Waiver ofHearing is Attached)
Name of Offender: Kenneth Mitchel] Scronce Case Number: 1:04CR1 0033-1 -T

 

Name of Sentencing Judicial Officer: Honorable James L. Foreman
Date of Original Sentence: June 12, 2000
Original Offense: Conspiracy to Manufacture Methamphetarnine; 21 U.S.C. 5 846 and 21 U.S.C. § 84l(a)(l)

 

 

 

Original Sentence: 46 Months in custody followed by 3 years on supervised release

Type of Supervision: Supervised Release Date Supervision Commenced: November l, 2002

PETITIONING THE COURT

|:l To extend the term of supervision for years, for a total term of years.
To modify the conditions of supervision as follows:

ADDITION OF SPECIAL CONDITIONS:

l)The defendant shall pay any financial penalty that is imposed by the judgment in Case no. 99-40084-00]-JLF, and that
remains unpaid at the commencement of the term of supervised release. Fine payments shall be in the amount of $25.00
per month or ten percent (IO%) of his net monthly income, whichever is greater.

2) The defendant shall not incur new credit charges or open additional lines of credit without the approval of the
probation officer unless the defendant is in compliance with the installment payment schedule.

3) The defendant shall participate as directed and approved by the probation officer for treatment of narcotic addiction,
drug dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may
require residence and/or participation in a residential treatment facility

4) The defendant shall participate in a program of mental health treatment, as directed by the probation officer, until
such time as the defendant is released from the program by the probation officer.

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with Ruie 55 and!or 32{10) FHCrP on

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CAUSE

Kenneth Mitchell Scronce was sentenced in the SD/IL by the Honorable James L. Foreman, U.S. District Court Judge,
on June 12, 2000, following his plea of guilty to Count one on an indictment charging Conspiracy to Manufacture
Metharnphetamine, in violation of 21 U.S.C. § 846 and 21 U.S.C. § 84}(a)(l). Judge Foreman sentenced Mr. Scronce to
serve forty-six (46) months in custody followed by three years on supervised release with a $100 special assessment, and
the following special conditions: 1) The defendant shall pay any financial penalty that is imposed by this judgment, and
that remains unpaid at the commencement of the term of supervised release Fine payments shall be in the amount of $25
per month or ten percent (IO%) of his net monthly income, whichever is greater; 2) The defendant shall not incur new
credit charges or open additional lines of credit without the approval of the probation officer unless the defendant is in
compliance with the installation payment schedule; 3) The defendant shall participate as directed and approved by the
probation officer in a program for the treatment of narcotic addiction, drug dependence, or alcohol dependence, which
includes urinalysis or other drug detection measures and which may require residence and/or participation in a
residential treatment facility, and; 4) The defendant shall participate in a program of mental health treatment, as directed
by the probation officer, until such time as the defendant is released from the program by the probation officer.

Mr. Scronce was released from custody on November l, 2002, and jurisdiction on his case was transferred from the
SD/iL to the WD/TN on April 9, 2004, Your Honor revoked this individual’s term of supervised release on June 25,
2004, and sentenced Kenneth Mitchell Scronce to a tenn of fifteen (15) months in custody followed by two years, three
months on supervised release. Mr. Scronce was released from custody on June 21, 2005. Therefore, our office is
requesting the addition of special conditions of supervised release as stated on this petition, and Mr. Scronce has

indicated his willingness to have his original special conditions added by his execution of the attached waiver form
(PROB 49).

Respectfully submitted,

by .M
U.S. Probation Officer

Date: June 21, 2005

 

THE COURT ORDERS:
I:| No action.

I:\ The extension of supervision as noted above.

w/The modification of conditions as noted above.

m Other

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§ f Signature ofJudicial Officer

U Date

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13139)

United States District Court

Western District of Tennessee

 

Waivcr of Hearing to Modify Conditions
of Probation/Supervised Release or Extend Term of Supervision

l have been advised and understand that I am entitled by law to a hearing and assistance of counsel before any
unfavorable change may be made in my Conditions of Probation and Supervised Release or my period of supervision
being extended. By “assistance of counsel,” I understand that I have the right to be represented at the hearing by
counsel of my own choosing if I am able to retain counsel I also understand that l have the right to request the court
to appoint counsel to represent me at such a hearing at no cost to myself if I am not able to retain counsel of my own
choosing

I hereby voluntarily waive my statutory right to a hearing and to assistance of counsel. l also agree to the
following modification of my Conditions of Probation and Supervised Release or to the proposed extension of my term
of supervision:

ADDITION OF SPECIAL CONDITIONS:

l)The defendant shall pay any financial penalty that is imposed by the judgment in Case no. 99- 40084- 001-JLF, and that
remains unpaid at the commencement of the term of supervised release Fine payments shall be 111 the amount of $25. 00
per month or ten percent (10%) of his net monthly income, whichever is greater.

2) The defendant shall not incur new credit charges or open additional lines of credit without the approval of the
probation officer unless the defendant is in compliance with the installment payment schedule.

3) The defendant shall participate as directed and approved by the probation officer for treatment of narcotic addiction,
drug dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may
require residence and/or participation in a residential treatment facility.

4) The defendant shall participate in a program of mental health treatment, as directed by the probation officer, until
such time as the defendant is released from the program by the probation officer.

Witness; M Signedi M_
\\_-__I-/

U.S. Probation Officer Probationer or Supervised Releasee

 

June 21, 2005

Date

DrsTRIC COURT - WESERNT D"T'CT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 28 in
case 1:04-CR-10033 was distributed by faX, mail, or direct printing on
July 1, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

